Case 5:20-cv-02080-JWH-SP Document 25 Filed 08/30/21 Page 1 of 2 Page ID #:100



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  8                      UNITED STATES DISTRICT COURT
  9                    CENTRAL DISTRICT OF CALIFORNIA
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 11   DEBORAHA SALCIDO,                     CASE NO. 5:20-cv-02080-JWH-SPx
 12                          Plaintiff,     ORDER RE: STIPULATED
                                            REQUEST FOR ADDITIONAL
 13         v.                              TIME TO FILE A DISMISSAL
                                            WITH PREJUDICE
 14
      SPECIALIZED LOAN SERVICING            Action Filed: October 6, 2020
 15   LLC,
 16                          Defendant.
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Case 5:20-cv-02080-JWH-SP Document 25 Filed 08/30/21 Page 2 of 2 Page ID #:101




  1         The Court, having considered the Stipulated Request for Additional Time to
  2   File a Dismissal with Prejudice, grants the parties’ stipulated request for additional
  3   time to file their dismissal papers, to Monday, September 27, 2021.
  4         IT IS SO ORDERED.
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  6   DATED: August 30, 2021
  7                                                        _______________________
  8
                                                           Hon. John W. Holcomb
                                                           U.S. District Judge
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